Case 2:20-cr-01008-CCC Document 27 Filed 05/16/22 Page 1 of 1 PageID: 174




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
      __________________________________________________________________

      UNITED STATES OF AMERICA            : CRIM NO. 20-1008 (CCC)
                                          :
                  Plaintiff,              :
                                          :
      v.                                  :
                                          :       ORDER
      MATTHEW BENJAMIN,                   :
                                          :
                  Defendant.              :
      __________________________________________________________________



             THIS MATTER having been brought before the Court on application of Brian J.

      Neary, Esq., counsel for the Defendant, Matthew Benjamin to delay the surrender date until

      June 1, 2022 AND on notice to the United States, (Joshua Haber, Assistant United State’s

      Attorney, appearing):

             AND for good cause shown;

                             16
             IT IS ON THIS ________ day of May, 2022,

             ORDERED that the defendant, Matthew Benjamin be ORDERED to surrender to

      FCI Butner located in Butner, North Carolina at or before 12:00 noon on June 1, 2022.



                                                  _____________________________________
                                                  HONORABLE CLAIRE C. CECCHI
                                                  UNITED STATES DISTRICT JUDGE

             5/16/2022
      Dated: _________
